

Matter of Zomer (2022 NY Slip Op 04936)





Matter of Zomer


2022 NY Slip Op 04936


Decided on August 11, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:August 11, 2022

PM-145-22
[*1]In the Matter of Jessica Hall Zomer, an Attorney. (Attorney Registration No. 4444659.)

Calendar Date:August 8, 2022

Before:Garry, P.J., Egan Jr., Clark, Pritzker and McShan, JJ.

Jessica Hall Zomer, Bethesda, Maryland, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Jessica Hall Zomer was admitted to practice by this Court in 2006 and lists a business address in Washington, DC with the Office of Court Administration. Zomer now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Zomer's application.
Upon reading Zomer's affidavit sworn to June 9, 2022 and filed June 13, 2022, and upon reading the August 2, 2022 correspondence in response by the Chief Attorney for AGC, and having determined that Zomer is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Egan Jr., Clark, Pritzker and McShan, JJ., concur.
ORDERED that Jessica Hall Zomer's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Jessica Hall Zomer's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Jessica Hall Zomer is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Zomer is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Jessica Hall Zomer shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








